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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 ----------------------------------------------------------X
 TROOPER 1,

                                   Plaintiff,
                                                               MEMORANDUM AND ORDER
                    -against-                                    22-CV-893 (LDH) (TAM)

 NEW YORK STATE POLICE et al.,

                                    Defendants.
 ----------------------------------------------------------X

 TARYN A. MERKL, United States Magistrate Judge:

          On February 17, 2022, Trooper 1 (“Plaintiff”), a member of former New York

 Governor Andrew Cuomo’s Protective Service Unit, initiated this action alleging that

 former Governor Cuomo sexually harassed her and other state employees. (See

 Complaint (“Compl.”), ECF No. 1.) The complaint names as Defendants the New York

 State Police (“NYSP”), former Governor Andrew Cuomo (“former Governor Cuomo”),

 Melissa DeRosa (“DeRosa”), and Richard Azzopardi (“Azzopardi”) (collectively

 referred to as “Defendants”). (See id.; see also Amended Complaint (“Am. Compl.”); ECF

 No. 7.) Plaintiff is claiming, among other things, discrimination and retaliation in

 violation of the federal Equal Protection Clause, the New York State Human Rights

 Law, and the New York City Human Rights Law. (See Am. Compl., ECF No. 7.)

          Currently before this Court is Plaintiff’s motion to proceed using a pseudonym.

 (Pl.’s Mot. to Proceed Using a Pseudonym (“Pl.’s Mot.”), ECF No. 3.) For the reasons

 discussed herein, the Court grants Plaintiff’s motion, without prejudice to Defendants

 to raise opposition at a later stage in the litigation.1



         A motion to proceed under a pseudonym is a non-dispositive pre-trial motion within a
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 magistrate judge’s jurisdiction. See 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a); E.D.N.Y. Local
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              FACTUAL BACKGROUND AND PROCEDURAL HISTORY2

        As noted above, Plaintiff is a member of the NYSP and was on former Governor

 Cuomo’s Protective Service Unit (“PSU”) starting in January 2018. (See Am. Compl.,

 ECF No. 7, ¶¶ 3, 11, 20, 29.) Plaintiff alleges that former Governor Cuomo sexually

 harassed her and several other people while he was in office. (Id. ¶¶ 3, 31–61, 68–143.)

        Plaintiff filed her motion to proceed using a pseudonym on February 17, 2022,

 the same day she filed the complaint. (See Pl.’s Mot., ECF No. 3; Pl.’s Mem. in Supp. of

 Mot. (“Pl.’s Mem.”), ECF No. 3-1; Declaration of Valdi Licul, ECF No. 3-2; Compl., ECF

 No. 1.) On February 18, 2022, Plaintiff filed an amended complaint. (Am. Compl., ECF

 No. 7.) On March 7, 2022, Defendants DeRosa and Azzopardi filed an initial response to

 Plaintiff’s motion, indicating their consent. (DeRosa and Azzopardi Resp., ECF No. 12.)

 On March 22, 2022, former Governor Cuomo filed a motion to extend the time for him

 to answer Plaintiff’s amended complaint and respond to the motion to proceed using a

 pseudonym. (Mot. to Extend, ECF No. 18.) On March 23, 2022, the Court granted former

 Governor Cuomo’s motion and set a deadline of April 18, 2022, for his response to the

 instant motion. (March 23, 2022 ECF Order.) On April 18, 2022, former Governor

 Cuomo responded, stating that he “does not oppose Plaintiff’s motion.” (Cuomo Resp.,

 ECF No. 23.)

        On June 6, 2022, the Court held an initial conference that included a brief

 discussion regarding Plaintiff’s motion. (See June 6, 2022 ECF Minute Entry and Order.)

 During the conference, Defendants NYSP and former Governor Cuomo confirmed that


 R. 72.2; cf. Doe v. Cornell Univ., No. 19-CV-1189 (MAD) (ML), 2021 WL 6128807, at *1 (N.D.N.Y.
 Sept. 22, 2021).
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         The Court assumes general familiarity with the substance and history of the case and
 includes only the background relevant to the instant motion.



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 they do not oppose Plaintiff’s motion presently but reserve their rights to oppose the

 motion as litigation proceeds. (Id.) On June 6, 2022, Defendants DeRosa and Azzopardi

 filed a letter disagreeing with the premise of Plaintiff’s motion but consenting to

 Plaintiff’s motion “for the foreseeable future without prejudice to subsequently

 objecting should the facts and circumstances warrant.” (DeRosa and Azzopardi Letter,

 ECF No. 36 (June 6, 2022).)

        For the reasons set forth herein, the Court grants Plaintiff’s motion to proceed

 using a pseudonym without prejudice to Defendants to raise opposition prior to trial.

                                        DISCUSSION

   I.   Legal Standards

        Federal Rule of Civil Procedure 10(a) requires that the title of a complaint name

 all the parties to the action. Fed. R. Civ. P. 10(a). This requirement “serves the vital

 purpose of facilitating public scrutiny of judicial proceedings and therefore cannot be

 set aside lightly.” Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 188–89 (2d Cir. 2008).

 However, “in limited circumstances, courts may grant an exception to this rule and

 allow a plaintiff to proceed under a pseudonym when the plaintiff’s ‘interest in

 anonymity’ outweighs ‘both the public interest in disclosure and any prejudice to the

 defendant.’” Doe v. City Univ. of New York, No. 21-CV-9544 (NRB), 2021 WL 5644642, at

 *2 (S.D.N.Y. Dec. 1, 2021) (quoting Sealed Plaintiff, 537 F.3d at 189). The Second Circuit

 has established a non-exhaustive list of ten factors for courts to consider when

 balancing these interests. These factors are:

        (1) whether the litigation involves matters that are highly sensitive and of
        a personal nature; (2) whether identification poses a risk of retaliatory
        physical or mental harm to the party seeking to proceed anonymously or
        even more critically, to innocent non-parties; (3) whether identification
        presents other harms and the likely severity of those harms, including
        whether the injury litigated against would be incurred as a result of the
        disclosure of the plaintiff’s identity; (4) whether the plaintiff is particularly


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        vulnerable to the possible harms of disclosure, particularly in light of his
        age; (5) whether the suit is challenging the actions of the government or
        that of private parties; (6) whether the defendant is prejudiced by allowing
        the plaintiff to press his claims anonymously, whether the nature of that
        prejudice (if any) differs at any particular stage of the litigation, and
        whether any prejudice can be mitigated by the district court; (7) whether
        the plaintiff’s identity has thus far been kept confidential; (8) whether the
        public’s interest in the litigation is furthered by requiring the plaintiff to
        disclose his identity; (9) whether, because of the purely legal nature of the
        issues presented or otherwise, there is an atypically weak public interest
        in knowing the litigants’ identities; and (10) whether there are any
        alternative mechanisms for protecting the confidentiality of the plaintiff.

 Sealed Plaintiff, 537 F.3d at 190 (internal quotation marks, citations, and alterations

 omitted). Courts are not required to “list each of the factors or use any particular

 formulation as long as it is clear that the court balanced the interests at stake in reaching

 its conclusion.” Id. at 191 n.4.

  II.   Analysis

        As an initial matter, the Court notes that Defendants do not oppose Plaintiff’s

 motion to proceed using a pseudonym at this juncture. (Cuomo Resp., ECF No. 23;

 DeRosa and Azzopardi Letter, ECF No. 36.) Former Governor Cuomo explained that he

 “has been aware of Plaintiff’s identity for some time and has not publicly disclosed it —

 as Plaintiff notes.” (Cuomo Resp., ECF No. 23.) Former Governor Cuomo also stated

 that he “does not intend to engage in (nor has he engaged in) a ‘campaign of

 intimidation’ against Plaintiff, as alleged in her motion papers.” (Id. (citing Pl.’s Mem.,

 ECF No. 3-1, at 4–5).) However, former Governor Cuomo and Defendants DeRosa and

 Azzopardi seek the right “to revisit the issue.” (Id.; see also DeRosa and Azzopardi

 Letter, ECF No. 36.) Courts in this circuit have allowed parties to revisit a ruling on a

 motion to proceed anonymously as the case progresses. See Does 1-2 v. Hochul, No. 21-

 CV-5067 (AMD) (TAM), 2022 WL 836990, at *10 (E.D.N.Y. March 18, 2022); Rapp v.

 Fowler, 537 F. Supp. 3d 521, 531 (S.D.N.Y. 2021).



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        After balancing the interests at stake, the Court grants Plaintiff’s motion without

 prejudice to Defendants to raise opposition to the motion at a later stage of the case.

                                      Sealed Plaintiff Factors

        As the Second Circuit has explained, the Sealed Plaintiff factors are designed to

 ensure that courts “balance plaintiff’s interest in proceeding anonymously against the

 interests of defendants and the public.” Sealed Plaintiff, 537 F.3d at 191. Balancing these

 factors here, the Court finds that Plaintiff has justified proceeding anonymously.

        A. Nature of the Litigation

        The first Sealed Plaintiff factor deals with whether the litigation implicates highly

 sensitive or personal matters. Id. at 190. Plaintiff’s complaint alleges several instances of

 sexual harassment (see Am. Compl., ECF No. 7, ¶¶ 31–61), which courts have found to

 be “highly sensitive and of an extremely personal nature . . . .” Doe v. Skyline Automobiles

 Inc., 375 F. Supp. 3d 401, 405 (S.D.N.Y. 2019). Therefore, the Court finds that the first

 Sealed Plaintiff factor favors granting Plaintiff’s motion.

        B. Risks of Identification

        The next three Sealed Plaintiff factors task the Court with assessing the potential

 risks associated with identifying the anonymous party, including the potential for

 retaliatory physical or mental harm, and the severity of such harms. Sealed Plaintiff, 537

 F.3d at 190.3 Plaintiff argues that she “has sought mental health treatment and would

 certainly experience significant harm if she is forced to reveal her identity to the

 public.” (Pl.’s Mem., ECF No. 3-1, at 4.) Additionally, Plaintiff claims that former



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         The Court notes that the fourth Sealed Plaintiff factor, whether Plaintiff is particularly
 vulnerable in light of her age, does not support Plaintiff’s proceeding anonymously because as a
 member of the NYSP, Plaintiff is certainly above the age of eighteen. Sealed Plaintiff, 537 F.3d at
 190. However, that one factor does not outweigh other Sealed Plaintiff factors that fall in favor of
 granting Plaintiff’s motion.


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 Governor Cuomo and DeRosa, former Governor Cuomo’s chief of staff, “have shown

 through their conduct over the past several years that they will use every tool at their

 disposal to lash out at those who challenge their abuses.” (Id.) Plaintiff alleges multiple

 instances of retaliation, including former Governor Cuomo’s threatening disciplinary

 charges against attorneys who have investigated him, and DeRosa’s accusing Plaintiff

 of “extortion” after Plaintiff sent a demand letter in this case. (Id. at 4–5 (citing Compl.,

 ECF No. 1, ¶¶ 6, 148, 152–54, 156).) In support of her motion, however, Plaintiff has not

 provided corroboration of Defendants’ alleged retaliatory acts. In addition, Plaintiff has

 not provided “corroborating medical testimony,” which many courts require to

 demonstrate psychological harm. See Doe v. Freydin, No. 21-CV-8371 (NRB), 2021 WL

 4991731, at *2 (S.D.N.Y. Oct. 27, 2021) (discussing Doe v. Smith 105 F. Supp. 2d 40, 43–44

 (E.D.N.Y. 1999)).

        Generally speaking, “‘the potential for embarrassment or public humiliation does

 not, without more, justify a request for anonymity.’” Skyline Automobiles Inc., 375 F.

 Supp. 3d at 405 (quoting Abdel-Razeq v. Alvarez & Marsal, Inc., No. 14-CV-5601 (HBP),

 2015 WL 7017431, at *3 (S.D.N.Y. Nov. 12, 2015)). Courts often require “more direct

 evidence linking disclosure of [a plaintiff’s] name to a specific physical or mental

 injury . . . .” Doe v. Gong Xi Fa Cai, Inc., No. 19-CV-2678 (RA), 2019 WL 3034793, at *2

 (S.D.N.Y. July 10, 2019). Cf. Doe v. Trustees of Indiana Univ., No. 21-CV-2903 (JRS) (MJD),

 2022 WL 36485, at *6 (S.D. Ind. Jan. 3, 2022) (rejecting plaintiff’s argument concerning

 “harm in the form of emotional and reputational damages, economic injuries, the loss of

 educational and career opportunities and future earnings” (quotation marks omitted)).

        Even though Plaintiff has not offered corroboration for her claimed risks of harm

 at this stage, in light of the allegations contained in the complaint and the high-profile

 nature of the case, “[h]aving the plaintiff’s name in the public domain, especially in the


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 Internet age, could subject the plaintiff to future unnecessary interrogation, criticism, or

 psychological trauma, as a result of bringing this case.” Doe v. Cabrera, 307 F.R.D. 1, 7

 (D.D.C. 2014). As a result, the Court finds that a “chilling effect” could result from

 Plaintiff’s being required to reveal her identity, which weighs in favor of permitting

 Plaintiff to continue anonymously. See, e.g., Doe v. Colgate Univ., No. 15-CV-1069 (LEK)

 (DEP), 2016 WL 1448829, at *3 (N.D.N.Y. Apr. 12, 2016) (“The Court is also mindful of

 the potential chilling effect that forcing Plaintiff to reveal his identity would have on

 future plaintiffs facing similar situations.”); Cabrera, 307 F.R.D. at 7.

        For these reasons, the Court finds that Plaintiff has not offered evidence

 sufficient to establish the second Sealed Plaintiff factor concerning the risk of retaliatory

 physical and mental harm at this stage of the case. The Court does find, however, that

 the third factor, concerning the risk of other harms and the likely severity of those

 harms, favors Plaintiff.

        C. Prejudice to Defendants

        The fifth and sixth Sealed Plaintiff factors address the defendants’ identities,

 whether they will be prejudiced by plaintiff’s anonymity, whether such prejudice (if

 any) differs at various stages of the litigation, and whether the court can mitigate such

 prejudice. Sealed Plaintiff, 537 F.3d at 190. As previously noted, one Defendant in the

 case is the NYSP, a governmental entity. Generally, in suits against the government, a

 plaintiff’s interest in anonymity is “particularly strong,” as institutional defendants are

 less likely to be prejudiced by a plaintiff’s anonymity. EW v. New York Blood Ctr., 213

 F.R.D. 108, 111 (E.D.N.Y. 2003); see also North Jersey Media Group Inc. v. Doe Nos. 1-5, No.

 12-CV-6152 (VM) (KNF), 2012 WL 5899331, at *7 (S.D.N.Y. Nov. 26, 2012) (finding that

 suits against the government “involve no injury to the Government’s reputation”

 (quotation marks omitted)). As to the individual Defendants in this case, former


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 Governor Cuomo, DeRosa, and Azzopardi have all represented that they are aware of

 Plaintiff’s identity and have not disclosed it, and that they do not presently object to

 Plaintiff’s proceeding anonymously. (DeRosa and Azzopardi Resp., ECF No. 12; Cuomo

 Resp., ECF No. 23.) Because Defendants know Plaintiff’s identity here, the Court finds

 that the potential prejudice to Defendants is low. See Doe v. Cornell, No. 19-CV-1189

 (MAD) (ML), 2021 WL 6128807, at *7 (N.D.N.Y. Sept. 22, 2021).

        D. The Public’s Interest in the Litigation & Alternative Mechanisms for
           Protecting Plaintiff’s Confidentiality

        The final four Sealed Plaintiff factors address whether a plaintiff’s identity has

 been kept confidential thus far, the public’s interest in the litigation vis-à-vis the

 plaintiff’s identity, and whether there are alternative mechanisms for protecting

 plaintiff’s confidentiality. Sealed Plaintiff, 537 F.3d at 190.

        Regarding the confidentiality of Plaintiff’s identity, her identity has been kept

 confidential to the public at large throughout various investigative and legal

 proceedings. (See Pl.’s Mem., ECF No. 3-1, at 6.) Plaintiff represents that while the State

 Attorney General, State Assembly, and numerous prosecutors have investigated former

 Governor Cuomo’s conduct in publicized investigations, the government officials have

 refused to identify Plaintiff. (Id.) Therefore, this factor favors Plaintiff. See Skyline

 Automobiles Inc., 375 F. Supp. 3d at 407 (explaining that “[i]f a plaintiff’s confidentiality

 has not been maintained throughout the proceedings, there is less of a risk of harm

 should the plaintiff not be permitted to proceed under a pseudonym”).

        As for whether “the public’s interest in the litigation is furthered” by requiring

 Plaintiff to disclose her identity, the Court finds that this factor also tilts toward

 Plaintiff. Sealed Plaintiff, 537 F.3d at 190. As the Honorable Gerard E. Lynch has

 observed:



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        [W]hen a plaintiff challenges governmental or pseudogovernmental
        action, the judicial process serves as a significant check on abuse of public
        power. Thus, as the courts have noted, it is in the public interest that the
        price of access to the courts not be too high. Where litigants risk public
        scorn or even retaliation if their identities are made public, unpopular but
        valid complaints may not be pursued. The value of open proceedings
        disappears when there are no proceedings to be had.

 Doe v. Del Rio, 241 F.R.D. 154, 158 (S.D.N.Y. 2006) (citations omitted); see also EW, 213

 F.R.D. at 111–12. Here, the Court finds that there is a substantial public interest in the

 litigation, and that this is a case where the price of access to the courts should “not be

 too high.” Del Rio, 241 F.R.D. at 158. Accordingly, the eighth Sealed Plaintiff factor

 supports Plaintiff’s motion. The ninth factor, however, does not further Plaintiff’s

 argument given that this case principally concerns factual allegations, and does not seek

 “to raise an abstract question of law.” Id.

        Finally, as to the tenth factor, the Court does not find any alternative

 mechanisms for protecting Plaintiff’s confidentiality in this case given the high level of

 interest the public and media would certainly have in Plaintiff given the nature of the

 allegations set forth in the Amended Complaint.

                                        *   *   *   *   *

        In balancing the Sealed Plaintiff factors and the other considerations discussed

 above, the Court finds that Plaintiff’s interest in anonymity presently outweighs the

 public’s interest in full disclosure of her identity and possible prejudice to Defendants.

 See Plaintiffs # 1-21 v. Cnty. of Suffolk, 138 F. Supp. 3d 264, 277 (E.D.N.Y. 2015); Doe 1 v.

 NorthShore Univ. HealthSystem, No. 21-CV-5683, 2021 WL 5578790, at *10 (N.D. Ill. Nov.

 30, 2021). The Court reaches this conclusion primarily because there is little to no

 cognizable prejudice to Defendants at this stage, balanced against a likelihood of harm

 to Plaintiff if she is required to reveal their identity. In addition, given the importance of

 the issues raised in the case, and the possible chilling effect that requiring Plaintiff to


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  disclose her identity could have, the Court finds that the public’s interest in the

  litigation is furthered by granting Plaintiff’s motion.

                                        CONCLUSION

         For the reasons contained herein, Plaintiff’s motion to proceed using a

  pseudonym (ECF No. 3) is granted without prejudice to Defendants to revisit this issue

  before trial.

         SO ORDERED.

  Dated: Brooklyn, New York
         June 9, 2022

                                             _____________________________________
                                             TARYN A. MERKL
                                             UNITED STATES MAGISTRATE JUDGE




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